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                   EXHIBIT O
                      Case 3:13-cv-00628-RCJ-CLB Document 153-15 Filed 04/06/21 Page 2 of 7

                     UNITED     SrATES PATENT AND TRADEMARK OFFICE
                                                                                                          UNITED STA TES DEPARTMENT OF COMMERCE
                                                                                                          United States Patent and Trademark Office
                                                                                                          Address: COMMISSIONER FOR PATENTS
                                                                                                                   P.O. Box 1450
                                                                                                                   Alexandria, Virginia 22313-1450
                                                                                                                  www.uspto.gov



                                       NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                                  EXAMINER
        36716          7590              12/28/2007
                                                                                                                     CHEUNG, MARY DA ZHI WANG
    LADAS & PARRY
    5670 WILSHIRE BOU LEV ARD, SUITE 2100                                                                         ART UNIT                   PAPER NUMBER
    LOS ANGELES, CA 90036-5679                                                                                      3694
                                                                                                        DA TE MAILED: 12/28/2007




    APPLICATION NO.             FILING DATE                       FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.            CONFIRMATION NO.

       09/797,488                03/01/2001                          Richard Frankland                          104632-991101                    4851
TITLE OF INVENTION: INTEGRATED CHANGE MANAGEMENT UNIT




    APPLN. TYPE           SMALL ENTITY            ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE     TOTAL FEE(S) DUE              DATE DUE

    nonprovisional              NO                    $1440                $300                   $0                       $1740                03/28/2008

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION .QN. THE MERITS IS. CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAW AL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT U. EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the SMALL ENTITY status shown above.
If the SMALL ENTITY is shown as YES, verify your current                          If the SMALL ENTITY is shown as NO:
SMALL ENTITY status:
A. If the status is the same, pay the TOT AL FEE(S) DUE shown                     A. Pay TOT AL FEE(S) DUE shown above, or
above.
B. If the status above is to be removed, check box 5b on Part B -                 B. If applicant claimed SMALL ENTITY status before, or is now
Fee(s) Transmittal and pay the PUBLICATION FEE (if required)                      claiming SMALL ENTITY status, check box 5a on Part B - Fee(s)
and twice the amount of the ISSUE FEE shown above, or                             Transmittal and pay the PUBLICATION FEE (if required) and 1/2
                                                                                  the ISSUE FEE shown above.

II. PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (ifrequired). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays ·in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                      Page 1 of3
PTOL-85 (Rev. 08/07) Approved for use through 08/31/2010.
                        Case 3:13-cv-00628-RCJ-CLB
                                             PART B -Document   153-15 Filed 04/06/21 Page 3 of 7
                                                      FEE(S) TRANSMITTAL
   Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                          Commissioner for Patents
                                                                          P.O. Box 1450
                                                                          Alexandria, Virginia 22313-1450
                                                                   or.Ell (571 )-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
~Pp.ropriate. All further corresponden~e including t~e P?tent, advance orders a!ld .notification of maintenance fees will be mailed to the current correspondence address as
mdjcated unless coi:recte~ below or directed otherwise m Block 1, by (a) spec1fymg a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
mamtenance fee nohficahons.
  CURRENT CORRESPONDENCE ADDRESS (Note: Use Block I for any change of address)                   Note: A certificate of ma1lmg can only be used for domestic mailings of the
                                                                                                 Fee(s) Transmittal. This certificate cannot be used for any other accompanying
                                                                                                 paper~. Each add,itional pape~•.such as an a~signment or formal drawing, must
                                                                                                 have its own certificate of ma1lmg or transm1ss1on.
         36716            7590               12/28/2007
                                                                                                                        Certificate of Mailing or Transmission                        .
    LADAS & PARRY                                                                                   I hereby certify that this Fee(s) Transmittal is being deposited with the United
    5670 WILSHIRE BOULEVARD, SUITE 2100                                                             States Postal Service with sufficient postage for first class mail in an enveloP.e
                                                                                                    addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    LOS ANGELES, CA 90036-5679                                                                      transmitted to the USPTO (571) 273-2885, on the date indicated below.
                                                                                                                                                                       (Depositor's name)

                                                                                                                                                                              (Signature)

                                                                                                                                                                                   (Date)


    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                             ATTORNEY DOCKET NO.             CONFIRMATION NO.

        09/797,488                   03/01/2001                                 Richard Frankland                                 104632-991101                      4851
TITLE OF INVENTION: INTEGRATED CHANGE MANAGEMENT UNIT




     APPLN. TYPE             SMALL ENTITY              ISSUE FEE DUE         PUBLICATION FEE DUE         PREY. PAID ISSUE FEE        TOTAL FEE(S) DUE               DATE DUE

     nonprovisional                NO                       $1440                      $300                         $0                       $1740                  03/28/2008

                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

       CHEUNG, MARY DA ZHI WANG                             3694                   705-050000
I. Change of correspondence address or indication of "Fee Address" (3 7        2. For printing on the patent front page, list
CFR 1.363).
                                                                               (I) the names of up to 3 registered patent attorneys
   D Change of correspondence address (or Change of Correspondence             or agents OR, alternatively,
   Address form PTO/SB/122) attached.                                          (2) the name of a single firm (having as a member a         2_ _ _ _ _ _ _ _ _ _ _ __
   D "Fee Address" indication (or "Fee Address" Indication form                registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer            2 registered patent attorneys or agents. If no name is      3
   Number is required.                                                         listed, no name will be printed.                             -------------

3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)



Please check the appropriate assignee category or categories (will not be printed on the patent):    D Individual D Corporation or other private group entity D Government·
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   D  Issue Fee                                                              D A check is enclosed.
   D Publication Fee (No small entity discount permitted)                    D Payment by credit card. Form PTO-2038 is attached.
   D Advance Order• # of Copies _ _ _ _ _ _ _ __                             0The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any
                                                                                overpayment, to Deposit Account Number                    (enclose an extra copy of this form).
5. Change in Entity Status (from status indicated above)
   0 a. Applicant claims SMALL ENTITY status. See 3 7 CFR 1.27.              Db. Applicant is no longer claiming SMALL ENTITY status. See 37 CFR l .27(g)(2).
NOTE: The Issue Fee and Publication Fee (if required) will not be accepted from anyone other than the applicant; a registered attorney or agent; or the assignee or other party in
interest as shown by the records of the United States Patent and Trademark Office.

   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                             Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                              Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ __

This collection of information is required by 37 CFR 1.31 I. The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to process)
an application. Confidentiality is &overned by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering, preparing, and
submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you reguire to complete
this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O.
Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450,
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PTOL-85 (Rev. 08/07) Approved for use through 08/31/20 I 0.                    0MB 0651-0033          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 3:13-cv-00628-RCJ-CLB Document 153-15 Filed 04/06/21 Page 4 of 7

                     UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                       UNITED ST ATES DEPARTMENT OF COMMERCE
                                                                                       United States Patent and Trademark Office
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                                                                                                P.O. Box 1450
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                                                                                                www.uspto.gov


    APPL!CA TlON NO.             FILING DATE                  FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.             CONFIRMATION NO.

        09/797,488                03/01/2001                     Richard Frankland        104632-991101                      4851

                                                                                                           EXAMINER
        36716           7590              12/28/2007
                                                                                                 CHEUNG, MARY DA ZHI WANG
    LADAS & PARRY
    5670 WILSHIRE BOULEY ARD, SUITE 2100                                                     ART UNIT                  PAPER NUMBER
    LOS ANGELES, CA 90036-5679                                                                  3694
                                                                                     DA TE MAILED: 12/28/2007




                                 Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                             (application filed on or after May 29, 2000)

The Patent Term Adjustment to date is 1064 day(s). If the issue fee is paid on the date that is three months after the
mailing date of this notice and the patent issues on the Tuesday before the date that is 28 weeks (six and a half
months) after the mailing date of this notice, the Patent Term Adjustment will be 1064 day(s).

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information Retrieval
(PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571 )-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101                 or
(571 )-272-4200.                    .




                                                                  Page 3 of3
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                             Case 3:13-cv-00628-RCJ-CLB Document 153-15 Filed 04/06/21 Page 5 of 7

                                                                                Application No.                      Applicant(s)

                                                                                09n97,4aa                            FRANKLAND ET AL.
                            Notice of Allowability                              Examiner                             Art Unit

                                                                                Mary Cheung                          3694

             •· The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1.    [gJ This communication is responsive to appeal brief filed on 28 August 2007.
2.    [gJ The allowed claim(s) is/are 2.4-9, 11-24,26-31.33-46.48-52 and 54-66.
3.    D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
             a)   D   All       b)   D   Some*   c)   D   None   of the:
                      1.   D   Certified copies of the priority documents have been received.
                      2.   D   Certified copies of the priority documents have been received in Application No. _ _ .
                      3.   D Copies of the certified copies of the priority documents have been received in this national stage application from the
                               International Bureau (PCT Rule 17.2(a)).
             * Certified copies not received:

     Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
     noted below. Failure to timely comply will result in ABANDONMENT of this application.
     THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.

4.   0   A SUBSTITUTE OATH OR DECLARATION must be submitted. Note the attached EXAMINER'S AMENDMENT or NOTICE OF
         INFORMAL PATENT APPLICATION (PTO-152) which gives reason(s) why the oath or declaration is deficient.

5.    D CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
       (a)   D    including changes required by the Notice of Draftsperson's Patent Drawing Review ( PTO-948) attached
                      1)   D hereto or 2) D      to Paper No./Mail Date _ _ .
       (b)   D    including changes required by the attached Examiner's Amendment I Comment or in the Office action of
                  Paper No./Mail Date _ _ .
      Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of
      each sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).

6.   0   DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
         attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.




Attachment(s)
1. ~ Notice of References Cited (PTO-892)                                               5.   D Notice of Informal Patent Application
2.   D   Notice of Draftperson's Patent Drawing Review (PTO-948)                        6.   D Interview Summary (PTO-413),
                                                                                                  Paper No./Mail Date _ _ .
3.   D   Information Disclosure Statements (PTO/SB/08),                                 7.   D   Examiner's Amendment/Comment
          Paper No./Mail Date _ _
4.   D   Examiner's Comment Regarding Requirement for Deposit                           8. ~ Examiner's Statement of Reasons for Allowance
          of Biological Material
                                                                                        9.   D   Other _ _ .




 U.S. Patent and Trademark Office
 PTOL-37 (Rev. 08-06)                                                      Notice of Allowability                       Part of Paper No./Mail Date 20071106
     Case 3:13-cv-00628-RCJ-CLB Document 153-15 Filed 04/06/21 Page 6 of 7


Application/Control Number:                                          Page 2
09/797,488
Art Unit: 3694

                                Allowable Subject Matter

1.     Claims 2, 4-9, 11-24, 26-31, 33-46, 48-52 and 54-66 are pending and are

allowed.

2.     The following is an examiner's statement of reasons for allowance:

       The closest prior art of Eager et al. (US 5,960,200) teaches an automated

system transitions an entire enterprise to a distributed infrastructure. The system

includes a process for organizing and managing the transition, a multi-tiered

client/server architecture that adheres to open systems standards, a system to

automate the transition of existing applications to this architecture, and a system to

enable the creation or modification of applications based on this architecture.

       In regarding to independent claims 2, 24 and 46, Eager taken either individually

or in combination with other prior art of record fails to teach or suggest a system for

providing a dynamically generated application having one or more functions and one or

more user interface elements comprising multiple layers, and one the layer is a change

management layer that automatically detecting changes that affect an application.

3.     Any comments considered necessary by applicant must be submitted no later

than the payment of the issue fee and, to avoid processing delays, should preferably

accompany the issue fee. Such submissions should be clearly labeled "Comments on

Statement of Reasons for Allowance."

                                          Inquire

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to Mary Cheung whose telephone number is (571 )-272-
    Case 3:13-cv-00628-RCJ-CLB Document 153-15 Filed 04/06/21 Page 7 of 7


Application/Control Number:                                           Page 3
09/797,488
Art Unit: 3694

6705. The examiner can normally be reached on Monday - Thursday from 10:00 AM to

7:00 PM. If attempts to reach the examiner by telephone are unsuccessful, the

examiner's supervisor, James Trammell, can be reached on (571) 272-6712.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free).

      The fax phone number for the organization where this application or proceedings

is assigned are as follows:

      (571) 273-8300          (Official Communications; including After Final

                              Communications labeled "BOX AF")

      (571) 273-6705          (Draft Communications)


              Mary Cheung
              November 6, 2007

                                          MARV D. CHEUNG
                                         PRIMARY EXAMINER
